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 ACLU OF HAWAII FOUNDATION                  Case No. 1:18-cv-00477-LEK-RT

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                 IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII


                                               Case No. 1:18-cv-00477-LEK-RT
  A.B., by her parents and next friends,
  C.B. and D.B., and T.T., by her
                                               [CIVIL RIGHTS ACTION]
  parents and next friends, K.T. and
  S.T.,
                                               CERTIFICATE OF SERVICE
                     Plaintiffs,
                                               [CLASS ACTION]
               vs.

  HAWAII STATE DEPARTMENT OF
  EDUCATION and OAHU
  INTERSCHOLASTIC
  ASSOCIATION,
                     Defendants.



                          CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on August 21, 2019, true and correct

 copies of the foregoing documents were duly served upon the following parties in

 the following manner:

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                        DATED: Honolulu, Hawaii, August 21, 2019.

                                    Respectfully submitted,

                                    /s/ Mateo Caballero
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